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   STUART D. GAVZY, ESQUIRE
   8171 E Del Barquero Drive
   Scottsdale, AZ 85258
   973-256-6080
                                                                Order Filed on August 23, 2019
   Fax: 480-452-1665                                            by Clerk
   Attorneys for Debtor,                                        U.S. Bankruptcy Court
                                                                District of New Jersey
   _______________________________________________________________________
   IN THE UNITED STATES BANKRUPTCY               :
   COURT DISTRICT OF NEW JERSEY                  :
                                          : CHAPTER 7 CASE
   IN RE:                                 :
   Steven D. Reif                         :
                                          : CASE NO. 19-23566 VFP
                                          :
                                          :
                                          : JUDGE: VFP
                                          :
                                          :
   DEBTORS :                              : HEARING DATE:
   ________________________________________________________________________
   ORDER GRANTING NOTICE OF MOTION TO ALLOW 341(a) MEETING OF
   CREDITORS TO BE CONDUCTED VIA TELEPHONE$1'*5$17,1*5(/$7('5(/(,)


   The relief set forth on the following pages, numbered two (2) through _____2______ is
   hereby ORDERED.




 DATED: August 23, 2019
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           THIS CAUSE coming on to be heard, and being heard, before the undersigned Judge of

   the United States Bankruptcy Court for District of New Jersey, pursuant to the Notice of Motion

   to Allow 341 (a) Meeting of Creditors to be Conducted via Telephone named above filed by the

   debtor; and

           IT APPEARING to the undersigned that this court has jurisdiction over the parties and

   over the subject matter of this Motion ; and

           IT FURTHER APPEARING to the undersigned that all parties in interest received

   notice of this Motion and of the time, date and place of this hearing and that no such parties

   have filed any timely objections or otherwise appeared in opposition to the said Motion and

   that the time for filing any such objection has expired; and

           IT FURTHER APPEARING to the undersigned that the relief requested by the debtors

   in his Motion is consistent with the applicable provisions of Title 11 of the United States

   Code and that the debtor has established good and sufficient cause to grant said relief; and

           IT IS THEREFORE ORDERED;

   1. The Debtor is hereby authorized and permitted to appear by telephone at the
   341(a) Meeting of Creditors.
   2. Upon entry of this Order, the Debtor's counsel and the Trustee shall confer
   and agree on a date, time and conditions for the telephonic 341(a) Meeting of
   Creditors to take place.
   3. No less than ten (10) days prior to such meeting, Debtor's Counsel shall
   (i) notify all creditors and other parties in interest that they may participate in
   the 341(a) meeting by telephone, at Debtor's expense; (ii) provide all such
   parties with a copy of this Order and instructions as to how they may
   participate in the meeting; and (iii) immediately file proof of service of same.
